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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

__________________________________________
                                                   )
BRISTOL-MYERS SQUIBB COMPANY AND                   )
PFIZER INC.,                                       )
                                                   )
       Plaintiffs and Counterclaim-Defendants,     )
                                                   )
       v.                                          )       C.A. No. 17-374-LPS
                                                   )
AUROBINDO PHARMA USA INC., et al.,                 )
                                                   )       (CONSOLIDATED)
       Defendants and Counterclaim-Plaintiffs.     )
                                                   )


    DEFENDANT UNICHEM LABORATORIES LTD’S RESPONSIVE POST-TRIAL
                    BRIEF ON NON-INFRINGEMENT


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Dated: February 7, 2020
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                                   ABBREVIATIONS

       The ’945 Patent        U.S. Patent No. 9,326,945

       ANDA                   Abbreviated New Drug Application

       API                    Active pharmaceutical ingredient

       Asserted ’945 Claims   Claims 21 and 22 of U.S. Patent No. 9,326,945

       BMS                    Plaintiff Bristol-Myers Squibb Company

       EDS                    energy dispersive x-ray spectroscopy

       FDA                    U.S. Food and Drug Administration

       NDA                    New Drug Application

       Pfizer                 Plaintiff Pfizer Inc.

       Plaintiffs             BMS and Pfizer

       POSA                   Person of Ordinary Skill in the Art

                              Parties’ Statement of Uncontested Facts, Pretrial Order,
       PSUF
                              Exhibit 1 (D.I. 672–1.)

       SEM                    Scanning Electron Microscopy

       Unichem                Defendant Unichem Laboratories, Ltd.

       Unichem ANDA           Unichem Anda No. 210108

       U-PF                   Unichem’s Proposed findings of Fact




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I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiffs have not established infringement of the Asserted ’945 Claims at least because

Plaintiffs have not shown that the Unichem tablet(s) manufactured in accordance with the

Unichem ANDA would meet the D90 Limitation recited in independent Claim 12, from which

both asserted Claims 21 and 22 (“the Asserted ’945 Claims”) depend.

       Plaintiffs, who asserted only literal infringement of the Asserted ’945 Claims, did not

calculate the D90 value for apixaban in the Unichem tablet(s). Instead, Plaintiffs submit an

estimate of the “particle sizes” of a statistically insignificant number of “particles” in the

Unichem tablet(s), and try to use these limited measurements (and observations) as a proxy for

the D90 value recited in the Asserted ’945 Claims.

       The evidence presented by Plaintiffs should be given no weight because the method

employed by Plaintiffs’ expert, Dr. Cory Berkland, is not suitable for calculating the D90 value of

a particle population. In addition to basing his conclusions on a statistically insignificant sample

size, Dr. Berkland’s method (“the Berkland Method”) has not been shown to be reliable, as it has

never before been used to “estimate” the D90 value of an API after tableting, and it is not

disclosed or reported in any publication of record. In fact, the evidence clearly establishes that

the D90 value of an API extracted from a tablet has never been determined by any method, much

less the Berkland Method. Dr. Berkland, moreover, failed to put into place a single valid control

that would demonstrate that his newly minted method did not impact the results of his analysis.

       The evidence put forward by Unichem, by contrast, is based on testing done in

accordance with the industry standards and the ’945 Patent. The evidence put forward by

Unichem shows that the bulk apixaban used to manufacture the Unichem tablet(s) does not meet

the D90 Limitation, and thus the Unichem tablet(s) does not literally infringe the Asserted ’945

Claims.


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       In short, when viewed as a whole, Plaintiffs have not met their burden of establishing, by

a preponderance of the evidence, that the Unichem tablet(s) would infringe the Asserted ’945

Claims.

II.    ARGUMENT

       A.      Legal Standard

       A patent infringement analysis involves two steps: construing the claims and then

applying the construed claims to the accused product. See Markman v. Westview Instruments,

Inc., 517 U.S. 370, 384 (1996); Amgen Inc. v. Hoechst Marion Roussel, Inc., 314 F.3d 1313,

1324 (Fed. Cir. 2003); Hospira, Inc. v. Amneal Pharm., LLC, 285 F. Supp. 3d 776, 784-85 (D.

Del. 2018). Application of the construed claims to the accused product is a question of fact. See

Markman, 517 U.S. at 384.

       Plaintiffs bear the burden of proving infringement by a preponderance of the evidence.

See Spectrum Pharm., Inc. v. Sandoz Inc., 802 F.3d 1326, 1336 (Fed. Cir. 2015) (internal citation

omitted). To prove infringement, “a patentee must show that every limitation of the claims

asserted to be infringed is found in the accused” product. Glaxo Inv. v. Novopharm, 110 F.3d

1562, 1565 (Fed. Cir. 1997). “It is elementary patent law that all limitations are material,” and

thus the patentee “is required to establish the presence of each limitation of the asserted claims.”

Id. at 1566 (citing Zenith Lab. Inc. v. Bristol-Myers Squibb Co., 19 F.3d 1418, 1423 (Fed. Cir.

1994)). While, under some circumstances, the patent need not describe every step that may be

used to show infringement, the inventors must disclose sufficient information in their patent

specification to comply with 35 U.S.C. §112 and show the inventors had possession of the full

scope of the claim. See Eli Lilly v. Teva Pharms, USA, Inc., 619 F.3d 1329, 134 (Fed. Cir. 2010)

(quoting Eli Lilly & Co. v. Teva Pharms, USA, Inc., 657 F. Supp. 2d 967, 1027 (S.D. Ind. 2009)).

Here, Plaintiffs cannot establish a POSA viewing the ’945 Patent would conclude that it


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discloses, teaches or suggests even a rudimentary grasp of the idea, desire or ability to measure

the particle size of an API post-tableting. This is not a situation where the claimed concept is

described and enabled and a new method has been developed to determine infringement. Rather,

in the present case, Plaintiffs attempt to ensnare a concept (post-tableted API particle size with

improved in vivo dissolution) that was not contemplated, described or enabled by the ’945

Patent.

          As Plaintiffs noted at page 4 of their Opening Post-Trial Brief on Unichem Laboratories,

Ltd.’s Infringement (D.I. 688) (hereinafter “Plaintiffs’ Opening Unichem Brief”), whether a

product infringes is “based on consideration of all the relevant evidence, including the ANDA

filing, other materials submitted by the accused infringer to the FDA, and other evidence

provided by the parties.” As will be shown below, evaluating all the evidence adduced at trial,

Plaintiffs have failed to establish that the Unichem tablet(s) would literally infringe the Asserted

’945 Claims.

          B.     The Meaning of the D90 Limitation

          The claim limitation at issue is recited in independent Claim 12, from which the Asserted

’945 Claims depend, as part of the following clause: “wherein the crystalline apixaban particles

have a D90 equal to or less than 89 µm.” (U-PF ¶ 8; JTX-2 at 2:12-17, Claim 12 (emphasis

added).) The bolded language is referred to as the “D90 Limitation.”

          The Court construed the D90 Limitation to have its “plain and ordinary meaning” (U-PF ¶

8; D.I. 381; PSUF 34) and, in so doing, relied on the following statement in the ’945 Patent to

further explain the meaning: “D90 of 89 µm means that 90% of the volume of particles in an

apixaban composition have a diameter less than 89 µm.” (U-PF ¶ 8; D.I. 380 at 9-10 (emphasis

added).)

          The evidence establishes that the D90 value cannot be directly measured but must be


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calculated. (U-PF ¶ 11; Tr. 649:15-650:1 (Berkland); Tr. 1670:10-1671:12 (Myerson); Tr.

1145:11-1146:21 (Genck); Tr. 1349:16-1350:3 (Chambliss).) As Dr. Myerson testified: “A

particle is a solid that has three dimensions.” (U-PF ¶ 9; Tr. 1669:17-18 (Myerson).) Dr.

Myerson explained that the D90 value must be mathematically calculated by first measuring the

diameter of the spheres in the sample, then calculating the volume of the spheres from the

diameter, and finally plotting the diameters vs. the volume or cumulative weights to form a

“cumulative plot” where the D90 value (the diameter at which 90% of the volume of the particles

is below) can be determined. (U-PF ¶ 10; Tr. 1670:10-1671:12 (Myerson).)

       The D90 value of a substance is, thus, a calculated value based upon a three-dimensional

volumetric measurement that is not the same as a two-dimensional “particle size” measurement,

such as that offered by Plaintiffs’ expert Dr. Berkland.

       Plaintiffs admit that they failed to calculate the D90 value for the apixaban particles in the

Unichem tablet(s). (U-PF ¶ 22.) Instead, Plaintiffs use Dr. Berkland’s rough estimate of the two-

dimensional “particle size” of a statistically insignificant number of apixaban particles as a proxy

for the D90 value. This is folly, as the two are not the same thing at all.

       The Malvern instrument used in the ’945 Patent (and used by Unichem in its testing)

calculates the D90 value by recording the scattering of laser light off thousands of particles and

then, using a mathematical algorithm and assuming uniformity of particle size, calculates the

“equivalent spherical diameter” (a volumetric measurement) of a particle population. (U-PF ¶ 12;

Tr. 1145:20-1146:15, 1177:6-12 (Genck); Tr. 649:15-650:1 (Berkland).)

       The SEM-EDS employed by Dr. Berkland, on the other hand, only permits observation of

a few individual particles and estimates the area (not volume) of individual particle sizes by

taking a two-dimensional measurement. (U-PF ¶¶ 48-49; Tr. 646:23-647:10 (Berkland); Tr.




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1177:6-17 (Genck).) As discussed in more detail below (in Section II(D)(4)-(5)), SEM-EDS is

not suitable for determining the D90 of an entire particle population; in fact, it is not possible to

calculate the D90 value from SEM-EDS data alone1 because it is not possible to obtain the

volumetric measurement required to determine the D90. (U-PF ¶ 50; Tr. 1177:6-12 (Genck).)

       C.      Plaintiffs Have Not Submitted Sufficient Reliable Evidence Establishing That
               The Unichem Tablet(s) Meet The D90 Limitation

               1.      Plaintiffs Did Not Calculate A D90 Value For The Unichem Tablet(s)

       Despite Plaintiffs’ assertion that the D90 value can be calculated from the particle size

data of tableted API “by software or by hand” (Plaintiffs’ Proposed Findings of Fact (D.I. 389)

at 48), Plaintiffs admit that Dr. Berkland did not calculate the D90 value of the apixaban particles

of the Unichem tablet(s)2. (U-PF ¶ 21.) Accordingly, Plaintiffs lack any direct evidence to

determine whether the Unichem tablet(s) meet the D90 Limitation of the Asserted ’945 Claims.

       Plaintiffs, instead, argue that, in their view, the Asserted ’945 Claims do not require

Plaintiffs to establish the precise D90 value of the Unichem tablet(s) because the claim limitation

“merely sets a threshold.” (Plaintiffs’ Opening Unichem Brief at 12.)

       Plaintiffs’ argument misses the mark. Plaintiffs have not provided any value that can be

used to determine whether the D90 “threshold” recited in the Asserted ’945 Claims has been met.



1
 There may be algorithms or software that could be used in limited circumstances and with
varying degrees of accuracy to convert the measurements taken by SEM-EDS (if, for example, a
sufficient number of particles are measured) to approximate the D90 from particle size
information. (U-PF ¶ 51; Tr. 1215:9-1216:1 (Genck); Tr. 1349:17-23, 1349:23-1350:3
(Chambliss); 1670:10-1671:12 (Myerson).) However, here, Dr. Berkland did not employ any
such algorithm, and did not convert the two-dimensional measurements into a D90 value. (U-PF
¶ 22; Tr. 647:12-16 (Berkland).)
2
 While Dr. Berkland did not calculate the D90 of the bulk apixaban used to manufacture the
Unichem tablets, he testified that the particle size of the bulk apixaban used to manufacture the
Unichem tablet(s) is on the order of “several hundred microns” in size. (U-PF ¶ 32; Tr. 615:22-
616:2 (Berkland).)


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 Plaintiffs have instead only offered evidence of apixaban particle size taken from a very small

 sample of granules (68) obtained from a very small number of tablets (5). Merely observing a

 statistically insignificant number of particles is not a proxy for calculating a D90 value. As

 discussed above, the two are simply not the same thing. And, as will be discussed below, the

 subjective evidence Plaintiffs present is unreliable because it is based on a litigation-inspired

 method that has not been reported or described in any journal or peer reviewed article or even

 used by its creator (Dr. Berkland) in any context prior to this litigation.

                2.      The Berkland Method

        Dr. Berkland created the Berkland Method solely for this litigation and without

 consulting the ’945 Patent. (U-PF ¶ 23; Tr. 652:1-653:1 (Berkland).) The Berkland Method

 used images (overhead views) of granules that were extracted from a fractured tablet, alongside a

 scale bar that is used to approximate a measurement.

        Generally, the Berkland Method consists of the following steps:

               Fracturing 5 finished 5 mg tablets (U-PF ¶ 34; Tr. 618:4-5; 618:8-9; 619:14-25
                (Berkland));

               Using a razor blade to scrape material from the exposed core of the tablet (U-PF ¶
                34; Tr. 644:12-16 (Berkland));

               Observing granules scraped from the Unichem tablet(s) using SEM-EDS3, some
                of which included apixaban particles on the surface denoted by the red coloration;
                (U-PF ¶ 35; Tr. 618:10-12; 619:9-12 (Berkland)); and



 3
   SEM, or scanning electron microscopy, involves a high-powered microscope with an electron
 beam projected onto the surface of a sample. (U-PF ¶ 24; Tr. 597:13-598:3 (Berkland).) The
 electrons are reflected to a detector that converts the electrons into an image. (U-PF ¶ 25; Tr.
 597:13-598:3 (Berkland).) EDS can be used in conjunction with SEM to identify the presence of
 an atom based on its unique x-ray emission. (U-PF ¶¶ 26, 27; Tr. 598:16-599:7 (Berkland).) The
 detector converts the x-ray signatures into colors to create an elemental map depicting the
 location of certain atoms. (U-PF ¶ 28; Tr. 598:16-599:7 (Berkland).)



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               Roughly measuring the two dimensional (e.g., length and width) size of SEM
                photographs of a few selected granules containing apixaban (U-PF ¶ 35; PTX-
                1205, page 7; Tr. 621:14-22 (Berkland).)

        Dr. Berkland distinguishes the apixaban particles in the Unichem tablet(s) from the

 excipients (i.e., primarily lactose anhydrous, microcrystalline cellulose and croscarmellose

 sodium) by “nitrogen atoms,” which are not contained in any of the excipients. (U-PF ¶ 30; Tr.

 617:13-18 (Berkland).) Each apixaban molecule has 5 nitrogen atoms. (U-PF ¶ 29.)

        It should be noted, however, that when viewing the apixaban particle map (based on the

 nitrogen signature), it is not possible to determine the identity of the non-apixaban particles that

 are being observed because the maps generated by Dr. Berkland only show one atomic signature

 at a time. (U-PF ¶ 28; PTX-1205 at 7; PTX-1222 at 11.)

        Before performing the Berkland Method on the 5 Unichem tablet(s), Dr. Berkland used

 SEM to measure the two-dimensional particle size of the bulk apixaban (pre-tableting) and

 concluded that the apixaban has a particle size on the order of “several hundred microns.” (U-PF

 ¶ 32; Tr. 615:22-616:2 (Berkland).) Dr. Berkland also testified that he estimated the particle size

 of the excipients (pre-formulation) and that he believed they all had two dimensional particle

 sizes of around 100 microns. (U-PF ¶ 33; Tr. 617:13-18 (Berkland).)

        Dr. Berkland certainly did not create either SEM or SEM-EDS. Both were known

 microscopy methods as of the filing date of the ’945 Patent. (U-PF ¶ 46.) However, the

 evidence at trial definitively establishes that neither SEM nor SEM-EDS was known or used by a

 POSA4 (as of the filing date of the ’945 Patent or even now) to “estimate” or otherwise attempt

 to determine a D90 value of tableted API particles. (U-PF¶ 47.) In fact, as noted above, Dr.



 4
  The Parties have proposed definitions for a POSA and their respective experts testified that
 their opinions would not change under either Party’s definition. (D-PF ¶ 160; PSUF ¶¶ 31-33.)


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 Berkland did not even attempt to calculate the D90 value of the apixaban particles in the Unichem

 tablet(s).

         The Berkland Method, as used in this case, suffers from numerous defects which, taken

 as a whole, make Dr. Berkland’s conclusions unreliable. Dr. Berkland based his conclusions on

 a statistically insignificant sample size; the SEM-EDS technology is not suitable for calculating

 the D90 value because it does not provide a three-dimensional volumetric measurement; SEM-

 EDS has never before been used to calculate (or even estimate, as was done here) the D90 value

 of API that has been liberated from a tablet; and Dr. Berkland employed no controls to ensure

 that the Berkland Method did not impact the results.

         Each of these defects is discussed in detail below.

                3.       Dr. Berkland’s Results Were Based On A Statistically Insignificant
                         Sample Size And Should Be Given No Weight

         The Berkland Method is not a quantitative analysis or a true scientific analysis in any

 sense. To obtain reliable results and data to calculate a reliable particle size distribution, one

 must determine and measure a statistically significant number of particles in the discrete sample.

 (U-PF ¶ 36; DTX-421.000107 (under “Critical Points:” “A sufficient number of particles should

 be considered.”) Dr. Berkland did not do this.

         Rather, Dr. Berkland only tested five Unichem tablet(s), all of which were 5 mg tablets

 and none of which were 2.5 mg tablets. (U-PF ¶ 37; Tr. 653:8-18 (Berkland).) From these five

 tablets, Dr. Berkland viewed only 68 granules (U-PF ¶ 38; Tr. 653:20-24 (Berkland).) Of these

 68 granules, only 57 or 58 (about 85%) included any apixaban particles at all. (U-PF ¶ 38; Tr.

 620:5-11 (Berkland).)

         The unrebutted trial testimony is that testing only 5 tablets out of three batches is “a very,

 very small, percentage-wise” number and looking at only 68 granules “is the same. It’s



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 statistically insignificant.” (U-PF ¶ 39; Tr. 1177:23-1178:5 (Genck).) Dr. Berkland had no

 basis, in fact or the literature, for believing that 68 granules would be a statistically significant

 number and he cited to nothing to support this judgment, other than circular reasoning based on

 his limited observations. (U-PF ¶ 40; Tr. 657:12-25 (Berkland).)

         With respect to the number of particles observed (not even measured), Dr. Berkland did

 not provide an estimate of how many apixaban particles are in a single 5 mg tablet or even how

 many granules might be in a Unichem tablet. (U-PF ¶ 41; Tr. 653:25-654:6 (Berkland).) Dr.

 Berkland does not even have a reasonable idea of how many apixaban particles were on the

 surface of the limited granules he observed, testifying that “[t]he the number of apixaban

 particles on a single granule was dozens, if not hundreds, of apixaban particles on one granule.”

 (U-PF ¶ 42; Tr. 620:12-16 (Berkland).)

         Without knowing how many apixaban particles might be in a single tablet (or even a

 single granule), it is not possible to understand whether a “statistically significant” number have

 been observed, much less measured. For this reason alone, Dr. Berkland’s conclusions are

 unreliable.

         The SEM-EDS of the Berkland Method, moreover, did not permit Dr. Berkland to view

 any apixaban particles that may be below the surface of the granules because SEM-EDS cannot

 detect subsurface apixaban particles. (U-PF ¶ 43; Tr. 1180:17-1181:5 (Genck); Tr. 618:17-21

 (Berkland).) Based on the manufacturing process described in the Unichem ANDA, Dr. Genck

 testified that Dr. Berkland’s assumption that all the apixaban particles are distributed on the

 surface of the granule(s) is incorrect. (U-PF ¶ 44; Tr. 1179:1-11 (Genck).) Dr. Genck testified

 that at least three steps of the Unichem manufacturing process are likely to lead to subsurface

 apixaban particles, including (i) adding water which dissolves the lactose and would bring




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 apixaban into the granule bed; (ii) adding 15% extra granular material on top of the granules

 which would obscure the apixaban; and (iii) compressing the granules into a tablet. (U-PF ¶ 45;

 Tr. 1179:12-1180:16 (Genck).)

        Taken as a whole, Dr. Berkland has failed to analyze a statistically significant number of

 apixaban particles, and has, moreover, made incorrect assumptions about the location of the

 apixaban particles. He cannot by fiat take these minimal observations and convert them into an

 “estimate” of what is acknowledged to be a calculated value.

        An expert’s opinion is required to be supported by fact and not merely conclusory

 statements. Medtronic Inc. v. Boston Sci. Corp., 558 F. App’x 998, 1000 (Fed. Cir. 2014) (“The

 district court correctly noted that conclusory statements are insufficient to support a verdict

 finding infringement under the doctrine of equivalents . . . .”); Trs. of Boston Univ. v. Everlight

 Elecs. Co., 896 F.3d 1357, 1363 (Fed. Cir. 2018).

                4.      The SEM-EDS Technique Employed By Dr. Berkland Is Not Suitable
                        For Calculating The D90 Value

        Dr. Berkland employed SEM-EDS microscopy, which is understood by those in the art to

 be “a counting” technique used to view and measure individual particles in two dimensions, as

 opposed to providing necessary volumetric particle size data to calculate the D90 value. Further,

 microscopy techniques are well-known to be prone to user error and bias. Indeed, the evidence

 at trial established that there are several limitations associated with the use of microscopy

 methods, which come into play in situations where, as here, the subjective, qualitative

 observations are being used as a proxy for a mathematical, calculated parameter.




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        Both Dr. Genck and Dr. Berkland relied on the 2009 book titled Particle Size

 Measurements by Henk G. Merkus (“Merkus”) (DTX-343; DTX-421, PTX-3945) for their

 respective reports and opinions, making it clear that a POSA would have been aware of Merkus

 in the 2010-2011 timeframe. (U-PF ¶ 52; Tr. 1181:6-18 (Genck); Tr. 605:15-23, 660:9-19

 (Berkland).) Dr. Genck testified that Merkus categorizes the SEM method as a “counting” or

 “fingerprint” technique, limited to “picking out each particle and very few particles at a time in

 order to get a fingerprint” or particle size, but not to provide a volumetric measurement. (U-PF ¶

 53; Tr. 1183:1-9 (Genck); DTX-421.00086-87.)

        Merkus distinguishes these “counting” methods (such as the SEM method) from “particle

 ensemble” methods, which includes the laser light scattering method employed by the Malvern

 laser light scattering instrument used by Dr. Genck and Unichem in calculating the D90 of the

 apixaban. (U-PF ¶ 55; DTX-421.00086-87; Tr. 1181:19-25, 1183:10-1184:9 (Genck).) The

 particle ensemble methods, such as laser light scattering, generate “both size and quantity

 information” and the “quantity information of the PSD [particle size distribution] is volume

 based.” (U-PF ¶ 56; DTX-421.00088.)

        Dr. Berkland acknowledges that Merkus makes clear that the “counting” techniques, such

 as SEM, have serious drawbacks if used for any type of particle size distribution determination,

 acknowledging that Merkus states with respect to the SEM technique that he used:

        For determination of particle size distribution, there is a strong limitation to
        the width of the distribution. This is due to the fact that only a limited number
        of particles is allowed in a field of view to avoid overlapping particles, that only
        a limited range of sizes can be measured at a single magnification at reasonable
        precision, and that typically only a few hundred particles are being measured.


 5
  Different chapters of the textbook Merkus were submitted under different Exhibit numbers.
 DTX-343 is Chapter 6 of Merkus; PTX-394 and DTX-421 both include Chapters 2, 4, 6, 7 and
 10. For convenience, all citations to Merkus will be to DTX-421.


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 (U-PF ¶ 57; Tr. 660:1-21 (Berkland); DTX-421.00145)(emphasis added).)

        Dr. Berkland also relied on a chapter by Zian-Ming Zeng, titled Particulate Analysis-

 Particle Size, in Solid State Characterization of Pharmaceuticals (1st Ed. 2011) (“Zeng”) which

 addresses the analysis of pharmaceutical particles. (U-PF ¶ 58; Tr. 608:23-8 (Berkland); PTX-

 412). Zeng indicates that, even when used for measuring particle size, microscopy methods have

 limitations: “However, there are a number of limitations associated with the use of microscopy

 for measuring particle size. First, microscopy is a subjective measure that is prone to observer

 bias and error.” (U-PF ¶ 59; Tr. 662:9-663:16 (Berkland); PTX-412 at BMSAPIXE_0002547.)

        Zeng suggests that the error injected by observer bias and subjectivity might be remedied

 by employing “automatic image analysis techniques.” (U-PF ¶ 60; PTX-412 at

 BMXAPIXE_0002547; Tr. 663:21-664:2 (Berkland).) However, Dr. Berkland admitted that he

 did not employ any such automatic image or analysis techniques in the context of his SEM-EDS

 analysis when determining the particle size of the apixaban observed on the surface of the

 granules. (U-PF ¶ 61; Tr. 664:8-10 (Berkland).)

        Even had Dr. Berkland employed such methods, however, merely determining the

 particle size of a few particles is not the same as determining the D90 value of a particle

 population. As discussed above in Section II(A), these two are different concepts.

        In fact, it is not possible to calculate the D90 value from using SEM-EDS alone because it

 is not possible to obtain the volumetric measurement required to calculate the D90. (U-PF ¶ 50;

 Tr. 1177:6-12 (Genck).) SEM-EDS, as Dr. Berkland admits, creates “a picture on a screen or

 page so it was in two dimensions” and not a three-dimensional volumetric measurement. (U-PF

 ¶ 49; Tr. 646:23-647:10 (Berkland).) While it may be theoretically possible to combine such

 two-dimensional particle size information with algorithms or software to approximate a D90



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 value, (U-PF ¶ 51), Dr. Berkland did not employ any such method and he did not calculate a D90.

 (U-PF ¶¶ 21, 22, 61).

                5.        Based On the State of the Art, the Berkland Method Is Unreliable And
                          Should Be Given No Weight

        The Berkland Method is not generally accepted in the scientific community. In fact, this

 method is wholly unknown to the scientific community for any such purpose. Neither the

 Berkland Method, nor the use of the Berkland Method, has ever been published in an article or

 journal wherein the D90 of a tableted API has been calculated (or estimated). This is to be

 expected, given, as discussed above, the inappropriateness of using SEM-EDS to determine

 volumetric measurements, such as the D90 of a particle population.

        This is further expected given that, as was established at trial, the prior art simply does

 not teach or suggest any method for determining the D90 of an API after it has been tableted –

 much less the use of SEM-EDS. (U-PF ¶¶ 64-65; Tr. 1941:6-11, 17-24 (Plaintiffs’ Closing).)

 Experts for both Plaintiffs and Unichem testified that they were unaware of a single publication

 or example available at the time of the invention (or even today) where the particle size of the

 API was measured and D90 determined after the API was formulated into a tablet. For example,

 Dr. Myerson testified:

        Q.       We discussed a number of publications, and I do believe we’re in
        agreement, but would you agree with me that none of the documents that you
        discussed today [or] were cited in your expert report determined the D90 of an API
        in a finished dosage form?

        A.      That’s correct.

 (U-PF ¶ 66; Tr. 1746:22-1747:2 (Myerson).) Dr. Genck testified:

        Q.     Are you aware of any reports in the literature of measuring the D90
        equivalent spherical volume of an active pharmaceutical ingredient that had already
        been formulated into a tablet?
        A.      No, I’m not. I certainly was not aware of one in the 2010/2011 timeframe


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        and I'm not aware of one today.

 (U-PF ¶ 67; Tr. 1178:20-25 (Genck).) Similarly, Dr. Chambliss testified:

        Q.     Are you aware of any situation where the D90 of an API after tableting was
        determined?
        A. Never, in 30-something years in this business, I’ve never heard of that being
        done.
        Q. Thank you. Are you aware of any literature or peer-reviewed publications
        teaching how to determine the D90 of an API after being formulated into a finished
        composition?
        A. No, I’m aware of none.

 (U-PF ¶ 68; Tr. 1339:19-1340:2 (Chambliss).)

        In fact, Dr. Berkland, whose credentials far exceed a POSA, admitted that, before this

 litigation, he had never attempted to estimate or otherwise determine the D90 of an API post-

 formulation, using the Berkland Method or any other method. (U-PF ¶ 69; Tr. 651:13-17

 (Berkland).) Of course, even in this case, Dr. Berkland did not use the Berkland Method to

 calculate the D90 value of the apixaban in the Unichem tablet(s). (U-PF ¶¶ 21, 22; Tr. 629:6-9

 (Berkland ).)

        Certainly, Plaintiffs cannot, and do not, dispute that no knowledge existed in the prior art

 regarding the use of SEM-EDS to determine the D90 of an API after tableting. (U-PF ¶¶ 64-70.)

 While Dr. Berkland may have used some techniques that were individually known, he combined

 them (in 2019 no less, not in 2010) in a way that was not contemplated by the prior art or a

 POSA, not shown to be scientifically accepted and certainly not disclosed in the ’945 Patent. (U-

 PF ¶¶ 64-72; 97.)

        While, as noted above, SEM-EDS microscopy was a known tool, it was not known by a

 POSA for determining the D90 of tableted API particles. (U-PF ¶¶ ; Tr. 1178:6-19 (Genck).) As

 Dr. Genck testified:

        Q.       Was the use of SEM-EDS generally known to those of skill in the art in 2010?


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        A.      Yes, it was, but for different applications.

        Q.      What types of applications would it have been used for?

        A.     For example, one of which is simply looking to particle shape. That you could do
        if you kind of want to get a feel for porosity. In other words, how are the particles held
        together, is there a void volume there? You could get that. And then if you want to use the
        EDS capabilities, you could do a little bit of issuing measurement in terms of chemical
        analysis, but nothing to do with the volume of particles.

 (U-PF ¶ 71; Tr. 1178:6-19 (Genck).)

        The state of the art describing SEM-EDS and other microscopy methods establishes these

 techniques were not known for (or capable of) determining the D90 of tableted API. (U-PF ¶¶ 64-

 72; DTX-421.00086-88 (Merkus).) Rather, SEM-EDS visually observes and permits a particle

 size to be determined by measuring either a single dimension (length) or two dimensions (width

 and length), but not volume, which is a three-dimensional measurement. (U-PF ¶ 73; DTX-

 421.00086-88 (Merkus).)

        To attempt to dispel the clear state of the art, Plaintiffs point to a single 2008 article titled

 “Supercritical Fluid assisted production of HPMC composite microparticles”, E. Reverchon, J. of

 Supercritical Fluids 46 (2008) at 185-196 (“Reverchon,” PTX-402). Dr. Berkland relies on

 Reverchon as teaching how to determine a D90 value of an API after tableting using microscopy.

 However, Reverchon provides a D90 value using SEM in a far different context than what Dr.

 Berkland has done via the Berkland Method. Importantly, Reverchon did not determine the D90

 value of an API after it was formulated into a finished dosage form (i.e., tablet/capsule). In fact,

 Reverchon did not determine the D90 value of an API at all – only a powder pre-formulation

 mixture of two distinct powdered substances.

        Reverchon did not use SEM-EDS to calculate a D90 of an API after the API had been

 tableted or encapsulated. (U-PF ¶ 77; PTX-402). Rather, Reverchon used SEM, along with laser



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 light scattering, to estimate the D90 of a coprecipitated mixture of powder API (ampicillin) and

 powder excipient (hydroxypropyl methylcellulose or “HPMC”) before (not after) the mixture

 was formulated into a solid dosage form (i.e., either tableted or placed into a capsule). (U-PF ¶

 78; PTX-402 at 187)(describing first the analysis of the mixture of powders and then the drug

 release studies after the HPMC and AMP had been formulated into tablets and gelatin capsules).

        Moreover, Reverchon did not use SEM-EDS to determine a D90 value, as the EDS was

 used only in conjunction with mapping the location of the API in the powdered mixture of API

 plus the HPMC. (PTX-402 at 191-192). The D90 estimates provided used only SEM and did not

 distinguish between the API and the HPMC. (Tr. 666:8-16 (Berkland); PTX-402 at 189).

        Further, Reverchon used SEM primarily to qualitatively verify the uniformity of the

 HPMC-ampicillin powder (before the ingredients were incorporated into a tablet or capsule) (U-

 PF ¶ 74; Tr. 666:8-14 (Berkland); PTX-402 at 185) or to qualitatively check the shape of the

 HPMC/API particles. (U-PF ¶ 75; PTX-402 at 188-189 (Section 3.1.2 HPMC micronization

 (describing the use of SEM images to show “a qualitative evaluation of the increase in particle

 size ….”).)

        Accordingly, Reverchon does not teach a POSA, in the 2010-2011 timeframe (or even

 today), that SEM-EDS could be used to calculate a D90 value of an API after it was tableted. At

 most, Reverchon shows that a D90 value could, in very limited circumstances, indicate some

 confirmatory D90 values in uniform powdered substances prior to tableting.

                6.     Dr. Berkland Failed To Employ Controls To Ensure His Testing
                       Method Did Not Impact The Results

        Despite Dr. Berkland proposing a litigation inspired method that had never before been

 used by him or anyone else, he failed to employ a single valid control to ensure that the Berkland

 Method did not impact the particle size of the particles he observed on the surface of the



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 granules. (U-PF ¶ 89; Tr. 1761:12-22(Myerson).) The use of valid controls is essential in

 obtaining reliable results. (U-PF ¶ 81; DTX-421.00138 (“Good practice requires: … validated

 measurement procedure (SOP).”).)

        Plaintiffs argue that Dr. Berkland ran a number of controls, but none of the steps Dr.

 Berkland took when performing the Berkland Method provide a basis for concluding that the

 various steps of the Berkland Method did not impact the results.

        First, Plaintiffs note that Dr. Berkland tested Unichem’s bulk apixaban and concluded

 that the nitrogen was uniformly distributed across the apixaban particle (U-PF 82), and that the

 particle size of the apixaban before being formulated was on the level of “several hundred

 microns.” (Plaintiffs’ Opening Unichem Brief at 8-9; U-PF ¶ 32; Tr. 615, 22-616:2 (Berkland).)

 Plaintiffs do not articulate how this could possibly serve as a control to determine whether the

 Dr. Berkland Method impacts the results he obtained.

        Dr. Berkland also testified that one control he used to show his method did not impact the

 particle size results was to “compare the particle size compressed into the tablet to the particle

 size of the excipients that come back out of the tablet.” (U-PF ¶ 84; Tr. 668:2-22 (Berkland).)

 Even if this were an appropriate control (and there is no evidence it is), Dr. Berkland did not

 make this comparison. Dr. Berkland could not make this comparison because, when viewing the

 “red” apixaban map, he could not identify which of the three excipients the non-apixaban

 particles on the granule surface might be. (U-PF ¶ 28; PTX-1205 at 7; PTX-1222 at 11).

        Instead, Dr. Berkland compared the particle size of the excipients prior to formulation

 (i.e., lactose anhydrous, microcrystalline cellulose and croscarmellose sodium), with the size of

 the granules he sliced out of the tablets – which included (presumably) all three excipients along

 with apixaban. (U-PF ¶ 84; Tr. 618:22-619:8 (Berkland).) He qualitatively observed that the




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 excipients (pre-formulation) were about 100 microns. (U-PF ¶ 85; Tr. 617:13-18 (Berkland).)

 Dr. Berkland then testified that the granules he sliced from the tablet were “consistent with the

 size of the excipients that were used in the starting formulation” which told him that he “hadn’t

 somehow adulterated the sample.” (U-PF ¶ 86; Tr. 617:23-618:8 (Berkland).) Neither Dr.

 Berkland nor Plaintiffs offer any explanation as to why this would serve as a control to determine

 whether the Berkland Method impacts the apixaban particle size.

        Finally, Dr. Berkland also testified that, if he did something “to adulterate the particle

 size in some way,” he assumed it would “be evident in” his analysis. (U-PF ¶ 88; Tr. 668:9-22

 (Berkland).) This is not a control, but an assumption. And this is the exact reason controls must

 be included in testing protocols – to ensure the testing protocol does not unexpectedly impact the

 size of the particle in some manner. (DTX-421.00142 (for microscopy, “sample preparation is

 critical for obtaining optimum results…”).)

        The truth of the matter is that, notwithstanding Dr. Berkland’s equivocations, and

 Plaintiffs’ arguments, Dr. Berkland did not employ a single control that would gauge the impact

 that his litigation-inspired method would have on his observed results. Plaintiffs’ expert, Dr.

 Myerson, acknowledged this at trial:

         Q.    Okay. And Dr. Berkland did not do any control testing to ensure that his testing
        methodology did not impact the size of the apixaban API particles that he was liberating
        from the Unichem ANDA products; is that correct?

         A.     Right. I would modify, he was liberating granules from the ANDA products and
        then looking at those. With that caveat, I will agree with you.

        Q. So it is correct that he did not perform any controls to ensure that his testing
        methodology did not impact the size of the API particles?

         A. That’s correct.

 (U-PF ¶ 89; Tr. 1761:12-22 (Myerson).)




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        Dr. Berkland’s testimony should be given little if any weight due to his failure to include

 reasonable controls. Supernus Pharms., Inc. v. Twi Pharms., Inc., 265 F. Supp. 3d 490, 513

 (D.N.J. 2017) (refusing to credit Dr. Berkland’s testimony in part because: “More perplexingly,

 Dr. Berkland did not prepare any control TEM images of solutions with known solid

 oxcarbazepine to confirm that the TEM images of the filtered solutions actually displayed

 undissolved oxcarbazepine.”).

        D.      The Evidence At Trial Establishes The Unichem Tablet(s) Would Not Infringe
                The Asserted ’945 Claims

        Unichem submitted substantial evidence of non-infringement, including (i) the

 specification contained in Unichem’s ANDA, which requires the D90 of the apixaban particles to

 be between 150 and 10000 microns; and (ii) independent testing of the apixaban particles which

 confirmed the D90 value to be well over the claimed 89 microns or less.

                1.      Unichem’s ANDA Requires Apixaban To Have A D90 Above 89µm

        The Unichem ANDA specifies that the apixaban particles must have a D90 value between

 150-1000 microns. As Dr. Genck testified at trial, Unichem’s ANDA includes a specification for

 particle size distribution and, as part of that specification, requires the D90 of apixaban to be

 between 150-1000 microns. (U-PF ¶ 90; Tr. 1165:2-12 (Genck); DTX-942.00003-4 (August 24,

 2018 Complete Response Amendment).)

        As Dr. Genck testified, and as is shown in the below chart from Unichem’s ANDA, the

 Unichem tablet(s) are made from bulk apixaban having a D90 value ranging from 416.333

 microns to 509.377 microns6. (U-PF ¶ 92; Tr. 1165:19-1166:4 (Genck); DTX-942.00004.)




 6
  Dr. Genck testified at trial that the D90 value for Batch No. 2010002631 should read “490.445)
 as opposed to “90.445” based on the Certificate of Analysis provided in Unichem’s ANDA. (U-


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        The Unichem ANDA, moreover, specifies the technique to determine the D90 of the

 apixaban, which includes the conditions and parameters for carrying out the testing using the

 Malvern Mastersizer laser light scattering instrument. (U-PF ¶ 93; Tr. 1167:14-1168:13 (Genck);

 DTX-943.00005).)

        The methodology described in the Unichem ANDA for determining the D90 value of the

 apixaban was very typical of what one of ordinary skill in the art would have expected. (U-PF ¶¶

 94-95; DTX-943.00005; Tr. 1167:14-1168:13, 1168:14-24 (Genck).) Further, the use of laser

 light scattering to determine the D90 of a particle population of bulk API is standard in the

 pharmaceutical industry. (U-PF ¶ 96; Tr. 1145:11-19 (Genck); Tr. 1339:5-14 (Chambliss).)

        Using the Malvern instrument to determine the D90 of apixaban pre-tableting is,

 moreover, the only method described in the ’945 patent. (U-PF ¶ 97; Tr. 1146:24-1147:5,

 1152:8-18, 1153:4-12 (Genck); Tr. 643:11-15, Tr. 641:6-10 (Berkland); Tr. 1338:15-1339:10

 (Chambliss).) And, moreover, laser light scattering was the only method employed by the

 named inventors of the ’945 Patent, as Plaintiffs’ Rule 30(b)(6) and named inventor Dr. Patel

 testified. (U-PF ¶¶ 98-100; Tr. 1127:15-1129:2 (Patel).)

        Unichem is, of course, required to make its tablets in accordance with its ANDA. (U-PF ¶

 101; Tr. 1164:1-6 (Genck).) Taking all of these factors into account, the Unichem ANDA and




 PF ¶ 93; Tr. 1166:5-1167:9 (Genck); DTX-946-00013) (showing the D90 value for SAP Batch No.
 2010002631 to be 490.445 microns).


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 expert testimony provide relevant and persuasive evidence that the Unichem tablet(s) do not

 meet the D90 Limitation of the Asserted ’945 Claims. (U-PF ¶ 102; Tr. 1169:5-1170:1 (Genck).)

                2.      Unichem’s Independent Tests Confirm The D90 Limitation Is Not Met

         Unichem’s expert Dr. Genck also had an independent laboratory, Particle Technologies

 Laboratories determine the D90 value of a sample7 of Unichem bulk apixaban batch 2010002631.

 (U-PF ¶ 103; Tr. 1170:2-7, 1170:22-1171:10 (Genck).) The testing employed a Malvern

 Mastersizer 2000 instrument (liquid dispersion) using essentially the same parameters and

 conditions set forth in the Unichem ANDA (which details were lacking in the ’945 Patent). (U-

 PF ¶ 105; Tr. 1170:8-21 (Genck); DTX-00545.)

         Particle Technology Laboratories provided a Lab Report, the results of which are

 reproduced below.




 (U-PF ¶ 106; DTX-546.)

         As Dr. Genck testified, the D90 value obtained from this independent testing showed a

D90 of approximately 3218 microns, which falls well outside the scope of the D90 Limitation. (U-




 7
  Dr. Genck testified regarding the appropriate manner in which he obtained and maintained the
 sample of apixaban as well as inspected the Malvern instrument and ensured the technicians
 understood the standard protocol. (U-PF ¶ 104; Tr. 1171:14-1173:7 (Genck).)
 8
  Dr. Genck explained that the differences in the D90 values reported in the Unichem ANDA and
 his Report are not unusual. (U-PF ¶ 108; Tr. 1217:1-16 (Genck).)


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PF ¶ 107; DTX-546-00002; Tr. 1175:6-16 (Genck).)

                3.     Plaintiffs’ Argument That This Testing Is Irrelevant Is Inconsistent
                       With The ’945 Patent

        Plaintiffs do not dispute the validity of the underlying evidence, only its relevance.

 Plaintiffs argue Unichem’s evidence of non-infringement is not relevant based on Unichem’s

 manufacturing process and the fact that Unichem is not aware of the particle size of the apixaban

 in the tablet. (Plaintiffs’ Opening Unichem Brief at 15-16.) Plaintiffs’ position is not consistent

 with the Court’s construction of the D90 Limitation or the ’945 Patent.

        Plaintiffs’ position contradicts the Court’s claim construction because the Court certainly

 did not exclude the type of testing expressly disclosed by the ’945 Patent, performed by Dr.

 Genck and specified in Unichem’s ANDA. (U-PF ¶¶ 13-15). Rather, in construing the D90

 Limitation, the Court indicated that the claim language did not limit the point at which the D90

 value of the apixaban should be measured or specify the way in which the D90 must be

 calculated, noting that: “The claims are silent as to a method of measurement.” (U-PF ¶ 14, D.I.

 380 at 10).

        Certainly, the D90 Limitation encompasses determining the D90 of the apixaban particles

 before tableting,9 given that the ’945 Patent only describes and discloses determining the D90 of

 bulk apixaban particles using laser light scattering. (Tr. 1150:5-18, 1146:24-1147:5, 1152:8-18,

 1153:4-12 (Genck); Tr. 643:11-15, 641:6-10 (Berkland); Tr. 1338:20-24, 1339:11-14

 (Chambliss).) It is rarely appropriate to eliminate the preferred embodiment from the claim



 9
   Dr. Berkland applied an improper claim construction in rendering his opinions, given his opinion
 that the D90 Limitation was limited to only determining the D90 of apixaban after incorporation
 into a finished dosage form. (U-PF ¶ 16; Tr. 637:24-639:24 (Berkland).) This is contrary to the
 plain and ordinary meaning. (U-PF ¶¶ 13-15).




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 scope. Dow Chem. Co. v. Sumitomo Chem. Co., 257 F.3d 1364, 1378 (Fed. Cir. 2001); Duncan

 Parking Technologies v. IPS Group, Inc., 914 F.3d 1347, 1364 (Fed. Cir. 2019) (“a claim

 construction that excludes the preferred embodiment is ‘rarely, if ever, correct and would require

 highly persuasive evidentiary support.’”)(quoting Vitrionics Corp. v. Conceptronic, Inc., 90 F.3d

 1576, 1584 (Fed. Cir. 1996)).

        Plaintiffs’ position is inconsistent with the ’945 Patent because the ’945 Patent ties only

 the D90 of the bulk apixaban with the improved in vivo dissolution of the tableted apixaban –

 even though the D90 of the tableted apixaban is not known or knowable based on the

 manufacturing process to make the tablet. (U-PF ¶¶ 109-113). The ’945 Patent teaches a POSA

 that the inventors regarded the D90 of the bulk apixaban particles to be critical in improving the

 in vivo dissolution of the apixaban formulated in a tablet. (U-PF ¶ 109; JTX-2 at 1:64-2:3, 1:56-

 60, 2:53-54, 9:29-32; Tr. 1154:23-1155:10, 1157:8-11 (Genck); Tr. 1746:16-21 (Myerson).)

        In fact, the ’945 Patent indicates that using bulk apixaban particles having a D90 of less

 than 89 µm “surprisingly and unexpectedly” led to “consistent in-vivo dissolution in humans” of

 the tablets made therefrom. (JTX-2, 1:64-2:5; Tr. 1715:5:12 (Myerson).) The fact is that the

 relationship between the bulk apixaban D90 and the in vivo dissolution is not surprising or

 unexpected. (U-PF ¶ 111; Tr. 1333:10-1335:6 (Chambliss).) However, the parties cannot

 dispute that the ’945 Patent ties the D90 value of the pre-tableted apixaban with the performance

 of the tableted apixaban in vivo. (U-PF¶ 109).

        And yet, the particle size (as well as the D90) of the apixaban in the tablets of the ’945

 Patent is not known or knowable by a POSA based on the wet and dry granulation manufacturing

 processes disclosed in the ’945 Patent. (U-PF ¶ 112; Tr. 1340:5-1343:2 (Chambliss); DTX-370;

 Tr. 1749:15-1750:4 (Myerson); Tr. 1157:12-1158:2 (Genck).) These manufacturing processes




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 will surely impact the particle size, and the D90, of the bulk apixaban particles and a POSA would

 not be able to predict with any certainty the resulting size or D90 of the tableted apixaban. (U-PF

 ¶ 114; Tr. 1153:13-22, 1157:12-18, 1152:8-18 (Genck); Tr. 1342:20-1343:1 (Chambliss).) That

 is, even knowing both the D90 of the bulk apixaban drug substance, and the manufacturing

 processes used to make the tablet as described in the ’945 Patent, a POSA would have

 insufficient information to determine (in 2010 or even today) the D90 of the tableted apixaban.10

 (U-PF ¶ 115; Tr. 1153:13-22 (Genck); Tr. 1342:20-1343:1 (Chambliss).)

        It is no different for the Unichem tablet(s). Unichem has provided extensive evidence of

 the D90 of the bulk apixaban prior to tableting (as described in the ’945 Patent), because it is not

 possible to determine, with any certainty, the D90 of the apixaban once tableted.

        Plaintiffs also assert that Dr. Genck, when formulating his opinions in this matter, applied

 a claim construction that was rejected by the Court. This is not correct. Dr. Genck made clear

 that he applied the Court’s “plain and ordinary meaning” claim construction when formulating

 his opinions:

        Q.       Dr. Genck, you're aware that the Court construed the claim term D90; correct?

        A.       Yes, I am.

        Q.       And I think we have established this, but you’re aware that the Court gave it its
                 plain and ordinary meaning?

        A.       Correct.

        Q.       And is that the definition that you applied when you rendered your opinions in
                 this case?

        A.       It is.


 10
   Dr. Myerson, Plaintiffs’ expert, acknowledged this point and could not offer any predictions as
 to the actual D90 of the tableted apixaban, noting that “other than saying it would be the same or
 possibly smaller, that’s the best I can do.” (U-PF ¶ 113; Tr. 1749:15-1750:4 (Myerson).)


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 (U-PF ¶ 116-117; Tr. 1219:16-24; 1144:10-19 (Genck).) Despite Plaintiffs’ counsel’s attempts

 to confuse Dr. Genck with legalese, Dr. Genck made clear that he was aware of the Court’s

 ruling and applied it. (Tr. 1193:16-1195:22 (Genck).) Moreover, as noted above, the

 construction of the D90 Limitation certainly encompasses the methods employed by Unichem in

 its ANDA and Dr. Genck in the testing he had done. Thus, even had Dr. Genck construed the

 D90 Limitation more narrowly by limiting it to determining the D90 value of the apixaban pre-

 tableting, his definition falls within the scope of the plain and ordinary meaning of the D90

 Limitation and thus creates no error. (P-UF ¶¶ 13-15)

        Viewing the evidence as a whole, Plaintiffs have failed to establish that the Unichem

 tablet(s) would infringe the Asserted ’945 Claims.

 III.   CONCLUSION

        For the reasons set forth above, Defendant Unichem respectfully requests that Unichem

 tablet(s) be found not to infringe the Asserted ’945 Claims.




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  Dated: February 7, 2020                Respectfully submitted,


                                         /s/ John C. Phillips, Jr.

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